      Case 2:12-cv-02778-SSV-KWR Document 37 Filed 07/29/13 Page 1 of 2



                             UNITED STATE DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

ANNA MATHAI                                                CIVIL ACTION

VERSUS                                                     NO.: 12-CV-02778

THE BOARD OF SUPERVISORS OF LOUISIANA                      JUDGE SARAH S. VANCE
STATE UNIVERSITY AND AGRICULTURAL
AND MECHANICAL COLLEGE, on behalf of                       MAGISTRATE JUDGE
LOUISIANA STATE UNIVERSITY HEALTH                          KAREN WELLS ROBY
SCIENCES CENTER – MEDICAL CENTER OF
LOUISIANA AT NEW ORLEANS –
UNIVERSITY CAMPUS, STEVE                                   SECTION “R” (4)
NELSON, MD, individually, and in his capacity as
Dean of LSUHSC School of Medicine


                             PLAINTIFF’S NOTICE OF APPEAL

       NOW INTO COURT, through undersigned counsel, comes plaintiff Anna Mathai who

respectfully gives notice that plaintiff in the above named case, hereby appeals to the United

States District Court of Appeals for the Fifth Circuit from the Judgment (Record Document 36)

entered in this action on the 23rd day of July, 2013.

                                       Respectfully Submitted:

                                       CAPITELLI & WICKER

                                       /s/ J. Alex Watkins___________________________
                                       T. Carey Wicker, III, Esq. (La. Bar No. 13450)
                                       J. Alex Watkins, Esq. (La. Bar No. 29472)
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                                       AND

                                       BENNETT WOLFF, Esq. (La. Bar No. 2193)
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      Case 2:12-cv-02778-SSV-KWR Document 37 Filed 07/29/13 Page 2 of 2



                                       Phone: (504) 831-1001
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                                       ATTORNEYS FOR ANNA MATHAI

                                 CERTIFICATE OF SERVICE

         I hereby certify that on July 29, 2013, I electronically filed the foregoing with the Clerk
of Court by using the CM/ECF document filing system which will send a notice of electronic
filing to all counsel of record.

                                       /s/ J. Alex Watkins___________________________




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